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 EXHIBIT K
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                                                                                  Page 1
·1·   · · · · · · · ·UNITED STATES DISTRICT COURT
· ·   · · · · · · · ·SOUTHERN DISTRICT OF NEW YORK
·2
· ·   ·E. JEAN CARROLL,· · · · · · · · ·)
·3·   · · · · · · · · · · · · · · · · · )
· ·   · · · · ·Plaintiff,· · · · · · · ·)
·4·   · · · · · · · · · · · · · · · · · )
· ·   ·v.· · · · · · · · · · · · · · · ·)Case No. 1:22-cv-10016
·5·   · · · · · · · · · · · · · · · · · )
· ·   ·DONALD J. TRUMP,· · · · · · · · ·)
·6·   · · · · · · · · · · · · · · · · · )
· ·   · · · · ·Defendant.· · · · · · · ·)
·7

·8

·9·   ·   ·   ·   ·   ·   ·   **********************************
· ·   ·   ·   ·   ·   ·   ·   · · ·VIDEOTAPED DEPOSITION OF
10·   ·   ·   ·   ·   ·   ·   · · · · EDGAR P. NACE, MD
· ·   ·   ·   ·   ·   ·   ·   · · · · · March 15, 2023
11·   ·   ·   ·   ·   ·   ·   **********************************

12

13· · · · · ·EDGAR P. NACE, MD, produced as a witness at

14· · ·the instance of the Plaintiff, was duly sworn and

15· · ·deposed in the above-styled and numbered cause on

16· · ·March 15, 2023, from 9:12 a.m. to 5:06 p.m. CST,

17· · ·stenographically reported, at the offices of

18· · ·Burns Charest, LLP, 900 Jackson Street, Suite 500,

19· · ·Dallas, Texas, pursuant to the Federal Rules of

20· · ·Civil Procedure and the provisions stated on the

21· · ·record.

22

23·   ·   ·Reported by:· ·Rebecca A. Graziano, CSR, RMR, CRR
· ·   ·   · · · · · · · · Texas CSR 9306
24·   ·   · · · · · · · · California CSR 14407
· ·   ·   · · · · · · · · Illinois CSR 084.004659
25·   ·   ·Job No. 223427


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·1· · · · · · · · · Dr. E. Nace - 3/15/23
·2· · A· · · No, I don't.
·3· · Q· · · Would it have been in February when you
·4· ·testified that you reviewed materials such as
·5· ·deposition transcripts?
·6· · A· · · Yes.
·7· · Q· · · And do you recall that on January 25th,
·8· ·2023, you informed defendant's counsel that you
·9· ·had to withdraw from serving as an expert in this
10· ·case?
11· · A· · · That I had to withdraw?
12· · Q· · · Correct.
13· · A· · · I don't recall withdrawing.· I recall some
14· ·concern about the time frames that were being put
15· ·forth.
16· · · · · · · ·MR. DeOREO:· I'll object to any
17· · · · further questions and instruct him not to
18· · · · answer with his communications with
19· · · · counsel.· It's protected by Rule 26.
20· ·BY MR. CRAIG:
21· · Q· · · Without getting into questions that you've
22· ·had with counsel for Donald Trump in this case,
23· ·did there come a point where you were no longer
24· ·able to perform your role as a rebuttal expert in
25· ·this case?


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·1· · · · · · · · · Dr. E. Nace - 3/15/23
·2· · A· · · Not that I was aware of.
·3· · Q· · · Did there come a point where you
·4· ·understood that you were no longer retained or no
·5· ·longer serving as an expert for Donald Trump in
·6· ·this case?
·7· · A· · · I wasn't aware of that.
·8· · Q· · · Were you aware that Donald Trump informed
·9· ·the Court in a letter that you would no longer be
10· ·serving as an expert in this case in early
11· ·February 2023?
12· · A· · · No.
13· · Q· · · Were you aware that Donald Trump retained
14· ·the services of two other experts in this case?
15· · A· · · No.
16· · Q· · · Okay.· Are you familiar with the names
17· ·Dr. Ian Lamoureux and Dr. Jill Hayes?
18· · A· · · No.
19· · Q· · · Are you hearing those names for the first
20· ·time today?
21· · A· · · I think so.
22· · Q· · · Do you have any awareness at all about
23· ·interactions with the Court with respect to your
24· ·service as an expert in this matter?
25· · · · · · · ·MR. DeOREO:· Objection.


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·1· · · · · · · · · Dr. E. Nace - 3/15/23
·2· · Q· · · Did you understand that your expert report
·3· ·was originally due on January 30th, 2023?
·4· · A· · · I don't think so, because no one demanded
·5· ·that.· So I didn't --
·6· · Q· · · So when you testified previously that you
·7· ·expected to be able to meet the deadlines that the
·8· ·Court had set for this case, you were unaware that
·9· ·the Court had set a January 30th, 2023, deadline
10· ·for your expert report?
11· · A· · · I don't remember that being a deadline.
12· ·Maybe it was posed to me.· I'm not sure.· And I
13· ·don't recall whether I said, "Okay, fine," or --
14· ·but I -- certainly something happened and I didn't
15· ·get materials or I didn't hear from anybody for a
16· ·while.
17· · Q· · · And did there come a time after
18· ·January 9th, 2023 -- and I'm sorry to have to ask
19· ·about this -- that your wife's health condition
20· ·changed your capacity to complete your expert work
21· ·in this case?
22· · A· · · No.
23· · Q· · · Have there any -- been any changes to your
24· ·wife's health condition since January 9th, 2023?
25· · A· · · Since when?


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                                                                           Page 115
·1· · · · · · · · · Dr. E. Nace - 3/15/23
·2· · Q· · · January 9th, 2023.
·3· · A· · · I'd say things are stable.· I mean,
·4· ·there's always little ups and downs along the way.
·5· · Q· · · And can you tell me what -- what condition
·6· ·your wife is currently treating or dealing with?
·7· · A· · · End-stage renal disease.
·8· · Q· · · And between January 9th and the time you
·9· ·submitted your report, were you ever -- did you
10· ·ever stop working on this case for a period of
11· ·time?
12· · A· · · I started working on the case when
13· ·materials arrived for me to look at.
14· · Q· · · And you testified that was in -- sometime
15· ·in early February 2023?
16· · A· · · As best I recall.· I have billing records
17· ·that would specify a date that I reviewed
18· ·something.· I don't have them here, but my
19· ·guess -- best guess is it must have been somewhere
20· ·in February.
21· · · · · · · ·I mean, I could be wrong.· Maybe I got
22· ·records in January.· I just don't recall when they
23· ·arrived.
24· · Q· · · Do you recall the total amount of time, in
25· ·terms of days or weeks, that you spent doing your


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·1· · · · · · · · · Dr. E. Nace - 3/15/23
·2· ·she had experienced on January 17th?
·3· · · · · · · ·MR. DeOREO:· Objection; misstates
·4· · · · the letter.
·5· · · · · · · ·MR. CRAIG:· I'm not misstating the
·6· · · · letter.
·7· · · · · · · ·THE WITNESS:· I don't --
·8· ·BY MR. CRAIG:
·9· · Q· · · Do you understand my question?
10· · A· · · I -- I don't remember what I said and I
11· ·don't remember who I talked to.
12· · · · · · · ·MR. SEIGEL:· It doesn't say at that
13· · · · moment they're moving forward.· I know
14· · · · where you're going with this, but I'm just
15· · · · giving you a heads-up --
16· · · · · · · ·MS. KAPLAN:· This is inappropriate
17· · · · objection for a deposition.
18· · · · · · · ·MR. SEIGEL:· Fair enough.· I'm
19· · · · trying to move things along.
20· ·BY MR. CRAIG:
21· · Q· · · So on January 17th, your wife had a
22· ·surgery; correct?
23· · A· · · Yes.
24· · Q· · · She went back to the hospital on
25· ·January 18th?


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·1· · · · · · · · · Dr. E. Nace - 3/15/23
·2· · A· · · Uh-huh.
·3· · Q· · · And they reversed the procedure from
·4· ·January 17th --
·5· · A· · · On the 19th.
·6· · Q· · · -- on January 19th?
·7· · A· · · Right.
·8· · Q· · · And after that, you testified previously
·9· ·that she was stable until present, and that the
10· ·next surgery she had was on February 14th relating
11· ·to her catheter; correct?
12· · A· · · Well, I was a little off on that, because
13· ·I didn't -- now looking at this, she was in the
14· ·hospital after the 19th.· She didn't go home until
15· ·maybe Sunday -- I don't remember, Saturday or
16· ·Sunday.· So they kept her a couple days to watch
17· ·her.· And so by the end of that weekend, she was
18· ·home.
19· · Q· · · And Sunday was January 22nd?
20· · A· · · Yeah.· Right.
21· · Q· · · So on January 24th, did you report that
22· ·she needed immediate surgery in face of real risk
23· ·of death?
24· · A· · · I don't remember what day I talked to
25· ·anybody.· But if it -- if I said "immediate


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